6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 1 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 2 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 3 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 4 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 5 of 56



                                                                             6-1
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 6 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 7 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 8 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 9 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 10 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 11 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 12 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 13 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 14 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 15 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 16 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 17 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 18 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 19 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 20 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 21 of 56




                                                                              6-2
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 22 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 23 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 24 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 25 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 26 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 27 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 28 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 29 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 30 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 31 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 32 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 33 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 34 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 35 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 36 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 37 of 56


                                                                              7-1
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 38 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 39 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 40 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 41 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 42 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 43 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 44 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 45 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 46 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 47 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 48 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 49 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 50 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 51 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 52 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 53 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 54 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 55 of 56
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-4   Page 56 of 56
